               Case 2:03-cr-00257-CJB-SS                      Document 1290            Filed 08/04/08            Page 1 of 1
O LAED 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                         Eastern District
                                                      __________  DistrictofofLouisiana
                                                                               __________

                   United States of America                            )
                              v.                                       )
                           Louis Brown                                 )   Case No: 03-257
                                                                       )   USM No: 28561-034
Date of Previous Judgment:                     02/22/2006              )   Robert Jenkins
(Use Date of Last Amended Judgment if Applicable)                      )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of ’ the defendant ’ the Director of the Bureau of Prisons ✔     ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       ✔ DENIED. ’ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
       ’
                    the last judgment issued) of months                    is reduced to                   .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    33                Amended Offense Level:                                               31
Criminal History Category: VI                Criminal History Category:                                           VI
Previous Guideline Range:  235 to 293 months Amended Guideline Range:                                             188      to 235 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
’ The reduced sentence is within the amended guideline range.
✔ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
’
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
’ Other (explain):
     The Defendant previously received a sentence of 160 months as to Counts 1 & 3 pursuant to a 5K1.1 departure.
     This Court finds no reason to further reduce the Defendant's sentence due to his extensive criminal history.



III. ADDITIONAL COMMENTS
     If this sentence is less than the amount of time the defendant has already served, then this sentence is reduced to
     a "time served" sentence.



Except as provided above, all provisions of the judgment dated                02/22/2006      shall remain in effect.
IT IS SO ORDERED.

Order Date:                 08/04/2008
                                                                                                    Judge’s signature


Effective Date:             08/04/2008                                        Hon. Stanwood R. Duval, Jr., U.S. District Judge
                     (if different from order date)                                               Printed name and title
